

Matter of Lester (2020 NY Slip Op 07012)





Matter of Lester


2020 NY Slip Op 07012


Decided on November 25, 2020


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 25, 2020

PM-154-20

[*1]In the Matter of Patric Alexander Lester, an Attorney. (Attorney Registration No. 4091310.)

Calendar Date: November 18, 2020

Before: Lynch, J.P., Aarons, Pritzker, Reynolds Fitzgerald and Colangelo, JJ.


Patric Alexander Lester, San Diego, California, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Patric Alexander Lester was admitted to practice by this Court in 2002 and lists a business address in San Diego, California with the Office of Court Administration. Lester now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney [*2]Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Lester's application.
Upon reading Lester's affidavit sworn to August 12, 2020 and filed August 17, 2020, and upon reading the November 6, 2020 correspondence in response by the Chief Attorney for AGC, and having determined that Lester is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Lynch, J.P., Aarons, Pritzker, Reynolds Fitzgerald and Colangelo, JJ., concur.
ORDERED that Patric Alexander Lester's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Patric Alexander Lester's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Patric Alexander Lester is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Lester is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Patric Alexander Lester shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








